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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

   TIMOTHY JACKSON,             §
       Plaintiff,               §
                                §
  v.                            §        Civil Action No. 4:21-cv-00033
                                §
  LAURA WRIGHT, et. al.,        §
       Defendants.              §
________________________________________________________________

       DEFENDANTS’ OPPOSED MOTION FOR PROTECTIVE ORDER
________________________________________________________________

TO THE HONORABLE JUDGE AMOS L. MAZZANT:

       For the reasons set forth in Defendants’ Opposed Motion to Stay Discovery, which

Defendants incorporate herein by reference, Defendants move for a protective order from

Discovery propounded by Plaintiff. Defendants have filed a motion to dismiss that raises, among

other things, jurisdictional bars including sovereign immunity from suit. See ECF No. 8 (Motion

to Dismiss). As an immunity from suit, not merely from liability, sovereign immunity protects the

Board Defendants 1 from the burden of litigation itself, including the burden imposed by discovery.

Under Fifth Circuit precedent, the Court must first determine that Plaintiff’s pleadings have

asserted facts that, if true, would overcome the Board Defendants’ immunity from suit before

issuing a discovery order narrowly tailored to uncover those facts. Because Plaintiff pleads no facts

to overcome the Board Defendants’ sovereign immunity, discovery is improper and must be




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        The Board Defendants are Laura Wright, Milton B. Lee, Melisa Denis, Mary Denny,
Daniel Feehan, A.K. Mago, Carlos Munguia, and G. Brint Ryan, each in their official capacities as
members of the Board of Regents for the University of North Texas (“UNT”) System.
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stayed. The Court should also exercise its discretion to stay discovery against the Defamation

Defendants. 2 The strength of the Defamation Defendants’ motion to dismiss—including their

challenge to the Court’s jurisdiction to entertain Plaintiff’s claims against them—weighs in favor

of a stay. Further, a stay of all discovery is proper to prevent the Court from having to police

discovery that purports to be aimed at the Defamation Defendants but invades the sovereign

interests of the Board Defendants’ and other UNT officials not named as defendants but entitled

to immunity from suit and protection from the burden of discovery. Plaintiff has already served

Defendants with broad requests for production, See Ex. A.

       Defendants respectfully ask the Court to issue a protective order alleviating them from

their obligation to respond to any discovery requests until no sooner than 30 days after the Court

rules on Defendants’ motions to dismiss (should the Court not grant the motions in their entirety). 3

                                               Respectfully submitted,

                                               KEN PAXTON
                                               Attorney General of Texas

                                               BRENT WEBSTER
                                               First Assistant Attorney General

                                               GRANT DORFMAN
                                               Deputy First Assistant Attorney General

                                               SHAWN COWLES
                                               Deputy Attorney General for Civil Litigation


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          The Defamation Defendants are Rachel Gain; Ellen Bakulina; Andrew Chung; Diego
Cubero; Steven Friedson; Rebecca Dowd Geoffroy-Schwinden; Benjamin Graf; Frank
Heidlberger; Bernardo Illari; Justin Lavacek; Peter Mondelli; Margaret Notley; April L. Prince;
Cathy Ragland; Gillian Robertson; Hendrik Schulze; Vivek Virani; and Brian F. Wright.
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          The deadline for Defendants to respond to Plaintiff’s request is May 14, 2021, which is
30 days from the date on which the parties conferred pursuant to Rule 26(f) on April 14, 2021.
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                                              THOMAS A. ALBRIGHT
                                              Chief, General Litigation Division

                                              /s/ Matthew Bohuslav
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                                              Attorneys for Defendants


                            CERTIFICATE OF CONFERENCE

        I certify that I have complied with the meet and confer requirement in Local Rule CV-7(h)
and Plaintiff opposes the relief requested herein. On April 14, 2021, the parties held their Rule
26(f) conference telephonically and I conferred with Plaintiff’s counsel Jonathan F. Mitchell and
Michael Thad Allen regarding Defendants’ motion to stay discovery and motion for protective
order. Plaintiff’s counsel did not believe a stay was warranted for the reasons set forth in their
response to Defendants’ motion to dismiss. They also reiterated Plaintiff’s desire to conduct
discovery to uncover new defamation claims and defendants before the expiration of the statute of
limitations. The discussions have conclusively ended in an impasse, leaving an open issue for the
court to resolve.

                                             /s/ Matthew Bohuslav
                                             MATTHEW BOHUSLAV
                                             Assistant Attorney General




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of April, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which automatically provided
notice to the following CM/ECF participants:

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                                              /s/ Matthew Bohuslav
                                              MATTHEW BOHUSLAV
                                              Assistant Attorney General




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